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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

    LED WAFER SOLUTIONS LLC                          §
                                                     §
            Plaintiff,                               §
                                                     § Case No. 6:21-cv-292-ADA
    v.                                               §
                                                     § JURY TRIAL DEMANDED
    SAMSUNG ELECTRONICS CO., LTD.,                   §
    and SAMSUNG ELECTRONICS                          §
    AMERICA, INC.,                                   §
                                                     §
            Defendants,                              §
                                                     §
    and                                              §
                                                     §
    SEOUL SEMICONDUCTOR CO., LTD.,                   §
                                                     §
            Intervenor-Defendant.                    §

         PLAINTIFF LED WAFER SOLUTIONS, LLC’S NOTICE OF DEFENDANTS’
                      PETITIONS FOR INTER PARTES REVIEW

          Pursuant to the Order Governing Proceedings Version 4.0, Plaintiff LED Wafer Solutions,

LLC hereby notifies the Court of the status of the following Petitions for Inter Partes Review filed

by Defendants Samsung Electronics Co. Ltd., Samsung Electronics America, Inc., and Seoul

Semiconductor Co. Ltd. that are relevant to Civil Action No. 6:21-CV-292-ADA.

          Resolved Petitions for Inter Partes Review:

     •    IPR2021-01491 (U.S. Patent No. 8,952,405) was filed on September 3, 202, by Petitioner

          and Defendant Samsung Electronics Co., Ltd.1

             o Status: Institution denied.

     •    IPR2021-01479 (U.S. Patent No. 8,952,405) was filed on September 7, 2021, by Petitioner

          and Defendant Seoul Semiconductor Co., Ltd.


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  In each of the listed Petitions for Inter Partes Review filed by Samsung Electronics Co., Ltd.,
the real parties-in-interest were identified as Samsung Electronics Co., Ltd., Samsung
Electronics America, Inc., and Samsung Semiconductor, Inc.

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       o Status: Institution denied.

•   IPR2021-01506 (U.S. Patent No. 8,941,137) was filed on September 7, 2021, by Petitioner

    and Defendant: Samsung Electronics Co., Ltd.

       o Status: Institution denied.

•   IPR2021-01504 (U.S. Patent No. 9,502,612) was filed on September 8, 2021, by Defendant

    and Petitioner Seoul Semiconductor Co., Ltd.

       o Status: Institution denied.

•   IPR2021-01516 (U.S. Patent No. 8,941,137) was filed on September 10, 2021, by

    Defendant and Petitioner Seoul Semiconductor Co., Ltd.

       o Status: Institution denied.

•   IPR2021-01526 (U.S. Patent No. 9,786,822) was filed on September 10, 2021, by

    Defendant and Petitioner Samsung Electronics Co. Ltd.

       o Status: Institution Denied

    Pending Petitions for Inter Partes Review:

•   IPR2021-01554 (U.S. Patent No. 9,502,612) filed on September 20, 2021, by Defendant

    and Petitioner: Samsung Electronics Co. Ltd.

       o Expected Institution Decision by April 21, 2022.

       o Expected Final Written Decision, if any, by April 21, 2023.




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Dated: March 22, 2022                    Respectfully Submitted,

                                         /s/ Bradley D. Liddle

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                                         ATTORNEYS FOR PLAINTIFF
                                         LED WAFER SOLUTIONS, LLC




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